Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 1 of 24




                     EXHIBIT 6
     Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 2 of 24

                                                                                     1




 1                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA
 2

       *** **** ****** ************ ***** ** ** *** ************** * ***** * *****
 3



 4     IN RE:  OIL SPILL BY THE
       OIL RIG DEEPWATER HORIZON
 5     IN TEE GULF OF MEXICO ON
       APRL 20, 2010
 6                                     CIVIL ACTION NO. 10-MD--2179 “J”
                                       NEW ORLEANS, LOUISIANA
 7                                     WEDNESDAY, JULY 31, 2013, 1:00 P.M.

 8     THIS RELATES TO ALL CASES

       ******** ***** *************** ****************************** ***
 9



10
                    SWORN STATEMENT OF GLEN LERNER, ESQUIRE
11                 TAKEN BEFORE THE HONORABLE LOU:s J. FREEH
                                 SPECIAL MASTER
12

13     APPEARANCES:

14
                                       LOUIS J. FREEH, SPECIAL MASTER
15                                     MATTHEW DOLAN, ESQUIRE

16
                                       JONES WALKER
17                                     PAULINE F. HARDIN, ESQUIRE
                                       JAMES E. WRIGHT, III, ESQUIRE
18                                     201 ST. CHARLES AVENUE
                                       NEW ORLEANS LA  70170
19

20
       oFFICIAL COURT REPORTER:        CATHY PEPPER, CRR, RMR, CCR
21                                     CERTIFIED REALTIME REPORTER
                                       REGISTERED MERIT REPORTER
22                                     500 POYDRAS STREET, ROOM HB406
                                       NEW ORLEANS, LA  70130
23                                     (504) 589—7779
                                       Cathy Pepper@ aed uscourts gov
                                                            .         .


24
       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY.           TRANSCRIPT
25     PRODUCED BY COMPUTER.


                              CONFIDENTIAL
                                                                 SM-03-GL00425
            Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 3 of 24

                                                                                                14




01:1’PM      1    also licensed in Nevada,           Arizona,    Minnesota.   I’m not sure if

oi:r7PM      2    he got licensed in Illinois yet,              but I know he’s trying to.

01:1PX       3                 We have Andry Lerner,            and I have a small little

0:1P         4    office in Naples where I’m moving with one attorney there named

0!:iii       5    Marr.i Scuderi.

01:1         6    Q.    What’s the name of that firm if it’s been named?

o::1ipM      7    A.    Glen Lerner Injury Attorneys.

01:1P        8    Q.    Are you the only principal member there?

01:1’M       9    A.    Sir,   yes,   sir.

i:1         10    Q.    Let’s talk        —-   you just mentioned the Andry Lerner firm?

o:1         11    A.    Pardon me?

01   1 nr   12    Q.    You just rientioried the Andry Lerner firm?

o1:l’1      13    A.    Sir,   yes,   sir.

01:1/PM     14    Q.    You and Jon Andry are the two members there?

01:1JPM     15    A.    Yes,   sir.

01:17PM     16    Q.    Anyone else who’s had a rnerrbership or equity interest in

01:17PM     17    it?

01:17PM     8     A.    As far as     I know,      no,   sir.

01:1M       19    Q.    Approximately when was that started?

O1:18PM     20    A.    Maybe a year and a half to two years ago.               It’s going to

01:18PM     21    be my best guess.            I think that’s when we did all the

01:18PM     22    partnership agreements and all that stuff according to the laws

01:18PM     23    of Louisiana.       I   know it    took a while for the attorneys to

Oi:1SPM     24    draft everything up and then finally they sent it to me.

01:1PM      25    Q.    How is the ownership or equity or control of that divided


                                               CONFIDENTIAL
                                                                              SM-03-GL00438
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 4 of 24




c::i::      1    between you and Mr. Andry?                  I’m talking about Jon Andry now.

01:L8PM     2    A.    I believe there is a 40/60 split,                   if I’m not mistaken,       at

0i:i        3     least in terms of everything that we’re doing                    --    any existing

o1u’:       4     cases.     And I think it’s 40/60 on any existing cases,                    and then

o:1r:       5    anything that I referred into the firm                   was   50/50.

            6    Q.    What about something that Mr. Andry refers into the firm?

0:EPM       7    A.    That would be 40/60.

u:e         8    Q.    Who’s got the 60?

oie         9    A.    Jon Andry is 60.

0:EM       10    Q.    And you’re 40?

01:PM      11    A.    Sir,    yes,     sir.

01:1IPM    12    Q.    Did you put any seed money into the formation of that

oi:;       13    entity?

0:1         4    A.    Oh,    yes,     sir.

o::1:      15    Q.    Approximately how much?

oi         16    A.    About a million,           two to get it going.           It wasn’t so much

Oi:1e      17    to get it going.             It was a process over about a course of a

0. :19PM   18    year just,     I think,       to help the firm keep growing and to

O1:19PM    19    sustain it during the nascent stages of BP litigation and other

O1:11?M    20    sto:fO we were hoping to get involved in.

o::1pM     21    Q.    Did Mr.       Andry contribute or invest any money there?

O1:19?M    22    A.    Part of the        ——    no,   sir.    I   mean,   certainy I            he   WaS


01:1M      23    taking his money that he’d earned and keep the lights on and

o1:1wi     24    everything,     so,    but in terms of buying into the firm or

O1:19PM    25    soroeLLng,    it was basically his existing firm already.                     I was


                                               CONFIDENTIAL
                                                                                   SM-03-GL00439
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 5 of 24


                                                                                                    16




O1:iE       1     buying into it and getting involved in heping the firm

O1I9PM      2     hopefully grow.

o::i        3     Q.   Approximately how many people,                if you know,    are employed

            4     in rhe firm,       and again,      an approximation between lawyers and

Oi:iq       5     nonlawyers.

oeir.:      6     A.   My guess,       I think there were,          including Jon,    there might

Oi:2UPM     7     be either four or five attorneys,                if I’m not mistaken.    And

Oi:20E4     8     support staff.           Gosh,   I don’t know,    maybe ten or so.

oio         9    Q.    Was the primary purpose of establishing that                   firm to

O1:2UK     10     address arid deal with what’s been referred to as the BP—related

O1:2OM     11     litigation?

i:2OK      12    A.    Part of       Lt,    yes,   sir.   Certainly,    I think,    we looked at PP

O1:2OM     13    as a launchinq point for it,             and also the fact that I’ve been,

::o’r1 14        you know,        with my practices,      we do so many claims on a monthly

O1;20?M    15    basis,    and so my business acumen as relating to the

O1:2OPM    16    administration of claims was far greater than Jon’s,                   so I think

C1:2PM     17    I brought a lot to the table in that respect,                  and also the

Oi:2)PM    18    ability     ——    obviously I was hrinairg some financial assistance

O1:2OM     19    to keep everything floating.

Oi:2OM     20    Q.    You said that was part of it.                Was there another part or

O1:2OPM    21    at least     ——




O1:20PM    22    A.    I phirk we were looking to             ——




O1:2OPM    23    Q.    If you just let me finish my question               ——




O1:2Oi’:   24    A.    Oh,    yes,    sir.     I’m sorry.

(11:20PM   25    ç.    So Ms.       Pepper doesn’t yell at me.


                                              CONFIDENTIAL
                                                                                SM-03-GL00440
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 6 of 24


                                                                                                                           22




Ci:2M       1    A.       On a relatively regular basis,                         more of a need-to-know

O1:28PM     2    basis on my part.                 Every now and then she would just send me

O1:2P       3     something,      I guess,          to the best of my knowledge that this is

O1:28Pt4    4    happening,       that is happening,                 but I couldn’t tell you how

i2birI      5    often.

oipri       6    Q.       How often would you speak to her on the telephone during

O1:2SPM     7    this period?

Ci2PM       8    A.      Not that often.

Oi:28PM     9    Q.      Would you have meetings with her only when you came in as

o:         10    you described,          a day or two a month or did you meet more often?

O1:28PM    Ii    A.       I wasn’t even in that often.                          I would say every six weeks

Q1;2EN     12    to two months.

O1:2       13    Q.      You would come and spend the whole day there?

u:2P       4     A.      Part of the day.                 Enough to just talk with everybody.                            I’m

O1:28PM    15    the happy guy in the office.                        I walk around and I’m kind ot

O1:28PM    16    like Kris Kringle.                 I spread good cheer.                    Everybody is always,

ol:28pM    17    Come down more often.                    We love it when you’re in the office.

O1:29PM    18    try to infuse the place with a certain energy but still,                                          you

O1:2pM     19    know,    we’re a business.                 And so        ——    but I wasn’t there chat

O1:2P      20    often.

O1:29PM    21    Q.      Would    you    be famIiar,               even    on    a   genera       basis,       w:ith the

O1:29PM    22    number of cases or the                   names     of    cases      or    the   types    of    cases

O1:2PM     23    that    were    in    that       law    firm’?

O:2’,:     24    A.      No,    sir.     In tact,          I didn’t        even      know the      name    of    the

Q1:2M      25    Thonn case       until       I    saw    the     c—mails      on    it.     I didn’t      know    the



                                                   CONFIDENTIAL
                                                                                                  SM-03-G L00446
                Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 7 of 24


                                                                                                          23




0 1: 2 9 PM            name of any cases.               That wasn’t really part of my job

01    2    PM    2     description.

0 1: 2 3    P          Q.       So you’re referring now to tne Casey Thorn case?

0 1 : 2 2 PM           A.       Sir,    yes,    sir.

01:2 2PM         5     Q.       The first time you learned that your firm represented him,

0: :29GM         6     meaning the Andry Lerner firm,              was reading e—mails?

Dl: 29 ‘v        7     A.       I knew we represented somebody.               I didn’t know the name of

Dl: 2 p          8     the guy until I actually saw the e-mail arid getting paid on it.

                 9     Q.       I’m sorry,       I don’t understand your answer then.          You said

0 1: 2 P I’M    10     you knew we represented somebody?

01 :22          11     A.       Well,    I    knew,    when it was “Tiqer” sending an      e-mail about

01: 22121              the case,        “Where is my fee?”,       I ciness because that’s park of

      10PM      13     the reason we’re here,              I suppose,    I didn’t even know who

01: 309M        14     Casey Thonn was.               I just knew that “Tiger” had referred a case

01: 301M        15     to the office.            I didn’t know the name of the guy.

01: 3OPM        16     Q.       You didn’t notice on the c-mails the name Therm,

0 1: 3 2 PM     17     T H 0-N N?
                        -   -     -




01: 30MM        18    A.        I didn’t really pay attention to it until               I saw “my fee,”

01: 30MM        19     and then I figured out this must be the guy.                    I knew nothing

01:        PM   20     about the case.            I’d never spoken       to the guy.   I didn’t even     ——




01: 3OPM        21     when the case was              referred over,    I had norh ng to olo wi Lh the

01: 30MM        22     actual handling of the case when he referred over.

01: 30MM        23    Q.        Did you ever meet Casey Thonn?

01: 30MM        24    A.        No,    sir.

01: 30MM        25    Q.        Did you ever speak to him on the phone as far as you know?


                                                       CONFIDENTIAL
                                                                                       SM-03-GL00447
            Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 8 of 24

                                                                                                  29




O1:36Pl     1     follow up with that?

O1:36P’4    2     Q.      Let’s stick with the conversations about this between you

Qi:36       3     and   JOn.


O1:36       4     A.      I think Jon was definitely uncomfortable in two manners:

O1:37PM     5     First,    I mean,      obviously at first glance referring or paying a

O1:37PM     6     fee on a case to somebody that’s working at the claims

O1:37PM     7     administration office would raise eyebrows,                and so Jon was

O1:37       8     like,    I don’t feel comfortable paying him.              And obviously my

O1:37FM     9     answer was, Well, based upon my conversation at the time he

O1:37FY    10     referred that case,           and I knew Thonn was the case because that

O1:37PM    11     was the only case we got referred from him,                he represented that

o1: 12            he had disclosed this to f4r.          Juneau.

O1:37      13     Q.      You’re saying he.         Who are you referring to?

O1:37PM    14     A.      “Tiger” Sutton.         At the time he referred the case,      he

O1:37PM    15     represented that he had told Mr.             Juneau about this,    and there

O1:3’PM    16     was no issue with the fee.

O1:7PM     17    Q.       Did he tell that to you?           1r.   Sutton.

O1:3]PM    18    A.       Sir,    yes,   sir,   of course.    That’s the reason I took the

O1:37PM    19    case.

O1:37PM    20    Q.       When he told you chat,        did you make a notation anywhere or

O1;PM      21    reference it in an e—mail or make any recording of that?

O1:3
P
7M         22    A.       No,    sir.    In fact, my whole conversation about the

O1:3SPM    23    referral of this case,           which I subsequently came to be known as

O1:38E     24    Mr.    Thonn,    was probably a 15- to 30—second conversation in a

O1:38PM    25    Suburban with “Tiger,” where we said,               “Hey,   now that I’m going


                                                CONFIDENTIAL
                                                                               SM-03-GL00453
            Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 9 of 24

                                                                                                   30




O1:38PM     1     to go work for the claims administration office,                I have one

O1:3SFM     2     case to refer.         And I want to refer the case to you guys.”

OI:8PM      3                    I’m like,      “Okay.”    My first thing was,    well,    first

O1:38PN     4     said,    “Did you clear this with your boss?             Is this okay?”

O1:3SpM     5                    He said,      “I told Pat Juneau about the case.          There

O1:3S?      6    are no issues with me referring the case.                 I have no

O1:3SP      7    involvement with it.”

O1:38PM     8                    And I believe as a judge        ——   you were a lawyer at one

O1:38!?f    9    point,     sir?    I don’t know if you were a lawyer, but that

O1:3       10    proverbial Chinese wall.              So I had no reason to not believe

O1:38P     11    “Tiger,” having known him for 25 years.                I said,   “Fine,    send it

O1:38PM    12    over to the office.”             That was all I said.

O1:38      13                    He said,      “No,   I’m not sending it to the office.        I’m

O1:38      14    referring it to you because Jon screwed me on the BellSouth

O1:38P.I   15    fee.”      That was it.

O1:3BPM    16                    I said,    “Okay,    send it to the office and tell them

O1:38PM    17    it’s my referral.”

O1:3B      18    Q.       This was a conversation you said that took place in a

O1:S       19    Suburban?

O1:38PM    20    A.       Yes,   sir.    I believe that’s what “Tiger” has,         a big

O1:39PM    21    Suburban.

O1:39P     22    Q.       Was it in New Orleans or somewhere else?

O1:39PM    23    A.       Sir,   sir,   yes.

O:39PM     24    Q.       Again,   your recollection of the approximate time of that

O1:39PM    25    conversation?


                                               CONFIDENTIAL
                                                                             SM-03-GL00454
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 10 of 24

                                                                                             32




O1:40PM     1    A.    “Jon screwed me on the BellSouth case,” you know.              That

O1:4O’i’    2    was it

O1:4O’M     3    Q.    How long did this conversatior. take?

Oi:4O4      4    A.    15 to 30 seconds.           That was it.

O1:40P’1    5    Q.    Did you ask him anything about the case?

Q1:4OPM     6    A.    Not a thing.

O1:40PM     7    Q.    Did he tell you anything about the case?

O1:4OE      8    A.    Sir,   no,    sir.

O1:4CPL1    9    Q.    Did you ever have a conversation about that case with

O1:4OPM    10    Christine Reitano?

01:4004    11    A.    To the best of my recollection,            no.   I think I’ve only

01:4004    12    spoken to Christine         ——   I haven’t seen Christine.    In fact,

C1:4004    13    since then,    I think since the referral of that case I may have

01:4?M     14    only seen Christine once if I’ve seen her at all.              I didn’t

01:4P1     15    even know it was Christine’s case.

01:4PM     16    Q.    You thought it was Mr.          Sutton’s case?

O1:4iPM    17    A.    Sir,   yes,    sir.

O1:41PM    18    Q.    Did he explain the reason to you at that time why he was

01:41PM    19    referring it?

01:4104    20    A.    Yes,   sir.

01:4104    21    Q.    Again,   could you,        as best you recall,   tell us what he told

O1:41PM    22    you in terms of his reason for referring the case?

01:4101    23    A.    He told me he had accepted a job at the claims

01:4IPM    24    administration office.

01:4-PM    25    Q.    You made a reference before that he talked about having


                                             CONFIDENTIAL
                                                                           SM-03-GL00456
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 11 of 24

                                                                                                    37




O1:46PM     1    A.      I don’t believe we ever talked about it more than one

O1:46       2    time.     And it was just with the original          ——    with that first

O1:46M      3    payment.     I felt Jon was somewhat uneasy with it,             one,   because

O1:46M      4    of the fact that “Tiger” was at the claims administration

O1:46PM     5    office.     And without him having an understanding of what

O1:46Pr!    6    happened in our conversation and him telling me that

O1:46EI1    7    Mr.   Juneau,    which I told him,   “Hey,   he told me he cleared this

O1:46PM     8    with Pat Juneau.       He’s had no involvemenr,           to the best of my

O1:46M      9    knowledge,      with the claim.   He referred the case.           He did

O1:46PM    10    substantial work,      according to you guys,        he’s got to be paid.”

O1:46FX    11    You can’t take the guy’s money and then say,                We’re not going to

O1:46PM    12    pay you.     Part of the referral process is people get paid if

O1:46      13    they refer the cases.

C1:46PM    14    Q.      Did Mr. Andry agree to that?

O1:46P1    15    A.      I think he was uneasy with it.        One,    is,    as I told you,

O1:46PM    16    there were two competing things going on.              I think he still had

O1:46PM    17    some animosity towards “Tiger” for whatever reasons,                and I

O1:46X     18    think he wanted to be like Pontius Pilot             (indicating) :     I’ll

O1:47PM    19    take your money but you go take the liability for payment.                     I

O1:47PM    20    gave him my word and I have no reason to believe that this                  ——




O1:47PM    21    that he can’t get the fee.

O1:47PM    22    Q.      Did Mr. Andry object to you making the payment?

O1:47PM    23    A.      I don’t know if you could say object.             I just think he

O1:4
P
7M         24    said,   “I’m going to send you the money.            You do what you want

O1:47PM    25    with it.”


                                         CONFIDENTIAL
                                                                             SM-03-GL00461
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 12 of 24

                                                                                             39




O1:48M        1   A.      I was practicing in the State of Nevada,         yes,   sir.

O:8P4        2    Q.      Is it your understanding that you don’t have to enter into

31:481>1     3    such an agreement in Louisiana?

Oi:488N      4    A.      I don’t know.        I don’t know what they did.    I wasn’t the

oI:4Set$      5   one that would sign it anyway.            That would be signed by the

O1:48P1       6   Louisiana attorney.

O1;4e’>i     7    Q.      Wo was chat?

OL48PI4      8    A.      That would be Jon Andry.

(ii:48i1      9   Q.      Do you know if Mr.       Andry signed such an agreement?

u1:4M       10    A.      No,    sir.     I know notha ng about the case once it came to

            11    the office.           I don’t kr.ow who baud Led ft or anything.

U1:49lM     12    Q.      Do you know any attorney who worked on the case in terms

O1:4Y       13    of    its actual day—to-day processing or operation?

Q1:49PM     14    A.      If    I had to guess,    I would probably guess Chris Mancuso,

O1:4?M      15    but   I couldn’t tell you for sure.           But she would usually handle

Q1:49pM     16    the cases from the intake process forward.

O1:49PM     1’!   Q.      Did you ever speak to her about this particular case,

o1:49pM     18    Casey Thorni?

O1:43PM     19    A.      I couldn’t.        I didn’t know nbc name of the case.

O149i’M    20     Q.      Is it your testimony chat you first learned or you first

O1:4       21     recall learning about the name of the case when you             read

ol:49pM    22     materials within the last few weeks?

01:4 9PM   23     A.      No.     I came to know chat Casey Thorir. was a    fee on a case

01:4PM     24     chat “Tiger” sent,          once I kept see     the e—rnails with fhonn on

01:49PM    25     them.     But I think if he was on anything before he demanded,


                                              CONFIDENTIAL
                                                                           SM-03-G L00463
          Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 13 of 24

                                                                                             43




O1:53P     1    Q.      Did he say Mr.         Juneau or just used the phrase his boss?

Oi:53      2    A.      No,     ‘m sure he would have referred to him as Mr.        Juneau

O1:53PM    3    or Pat.

O1:53’M    4    Q.      Was that in response to a question you asked him?

O1:53?     5    A.      Sure.     I asked him if it was okay to send the case.

O1:53P1    6    Q.      His response was yes?

3153P      7    A.      “Yes,    I cleared it with Pat.”         Or Pat Juneau or

O1:53P     8    Mr.   Juneau.      I don’t know which one he said.         I couldn’t tell

O1:53PM    9    you for sure.          Gosh,   that was eight,   nine months ago.

O1:53P4   10    Q.      Now,    at the tine that Mr.      Sutton went to work for the

O1:53FM   11    claIms administrator,           he also had a business relation with you

OI:54.    12    through Crown;         is that correct?

O1:54M    13    A.      Sir,    yes,   sir.

O1:54PM   14    Q.      I’m going to ask you some more specific questions about

O1:54PM   15    that,   but he was or. a monthly compensation basis with respect

O1:54PM   16    to Crown?

O1:54P    17    A.      Sir,    yes,   sir.

Oi:54PM   18    Q.      What was your understanding        ——    let’s go back to December

O1:54PM   19    of last year.          What was your understanding at that time about

O1:54PM   20    how much money he was being paid and for what reason with

O1:54PM   21    respect to Crown?

O1:54PM   22    A.      Well,    actually,     he started receiving money from Crown    -—      I

O1:54PM   23    had put about a million to a million and a half into Crown,                up

O1:54PM   24    until June of           May of 2012.     Originally the deal was,   I

O1:54PM   25    wasn’t even on the original operating agreement.              Joey Dartez,


                                              CONFIDENTIAL
                                                                           SM-03-GL00467
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 14 of 24

                                                                                                     48




02OOPM       1    ‘Hey,    we need to bring somebody in to execute.                We’re so close,

oooo         2    but you guys can’t execute.”

02:OOFM      3                    And so I said,     “I’m bringing in my handpicked CEO.”

O2:OO’M      4                    I had spoken to Mike.         Mike was actually about to

02:copM      5    take another job in London.               I called him right before he was

C2:COPM      6    going to take this job in London.                I said,    “Mike,   remember we

02:OOPM      7    had gone down to Houston two years ago?                Well,    I invested in it

02:OOPM      8    and it works.           I want you to come down and see the machine

02:OOPM      9    operate.”

U2:OP       10                    And he said,     “Well,    I’m about to go to London.           I had

02:COi’M    11    just accepted a job basically with this”               -—    I don’t know if it

02;OO’M     12    was an equity firm in London,             buL.

02:OOPM     13    Q.      So he ended up becoming the CEO?

02:OOPM     14    A.      Yes,    sir.     You shortened it.

02:COPM     15    Q.      What were the financial arrangements between you being the

02:OIPM     16    only investor and the majority owner and Mr.                  Sutton?

02:OIPM     17    A.      Well,    at the time I wasn’t the majority owner,               and I’m

02:OIPM     18    still not the actual majority owner.                Everybody was 25 percent

O2:DPM      19    at   the time.         And I basically,     at the end of May,       2012,   I said,

02:OH’M    20     “This isn’t working for me anymore.                It’s obvious we need more

02:OIPM     21    capital.        If you guys want me to put any more money into this

O2:CM       22    thing,    I’m paying Mike $35,000 a month,            that’s what a CEO is

02:CIPM     23    going to get       ——    a   ow—paid CEO,   but we need him.         We can’t

02:O1PM     24    execute without somebody who understands the engineering

02:OIPM    25     aspects and who still understands a boardroom.”


                                               CONFIDENTIAL
                                                                                 SM-03-GL00472
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 15 of 24

                                                                                                     49




O2:D1P       1                   They were    ——   at first,    until they saw what Mike could

02:O1PK      2    do the first six months,            they were really upset about me paying

02:C1PM      3    Mike this money.          “And you guys,      if you don’t agree to changing

)2:O1PN      4    the shares,      then I    can’i    fund it any more.”

2:O1PM       5                   They said,    “WeLl,    if you’re going to change the

02:0104      6    shares,      then we want to get a monthly salary.”

(J2:O1PM     7                   I said,    “Okay.”     So we agreed to a salary.

02:OIPM      8                   And so for me basically taking on any expenses,

02:0104      9    insurance,      all this,    so many ancillary costs associated with

204         10    this,      Mike’s salary,    all    the traveling expenses,     everything,

o2f04       11    they agreed,      each one of them,       to reduce theLr ownership

02:0204     12    interest by 8 percent each,            so 24 percent in total.      Mike

02:0204     13    and   ——    I’m sorry,    Tim and Joey,      I think,   at first were either

C2:02t1     14    5,000 to 6,500 a month.             I couidn’t tell you exactly.

02:0204     15    Q.      Would you characterize that as salary or equity return?

02:0204     16    A.      We called it salary,         but it was basically salary and

U2:O2PM     17    consideration for them givinq up a share of their equity.                     And

02:O2PM     18    the same thing with “Tiger” got paid $10,000 a month,                    and that

02:004      19    was salary for him giving up a share of his equity.

0.00:111    20    Q.      And also expenses        from time to time?

02:0204     21    A.      I think there were some expenses.               I don’t know if there

o2:c2o1     22    were a whole lot of expenses on nis part.

02:0:211    23    Q.      As best you recall,         for what period of rime or      ——    strike

02:0204     24    that.

02:0204     25                   When did you start paying,         let’s just stick with


                                             CONFIDENTIAL
                                                                               SM-03-GL00473
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 16 of 24

                                                                                                        50




2:c          1    Hr.    Sutton,    a monthly amount?             If it was $ID,000   ——




O2:C3PM     2     A.      His wasn’t so much.             In the beginning his was monthly.

O2:(jP1      3    The first couple months he received his monthly,                    just like the

O2:OPM       4    other guys.           And then I became cash strapped and I said to him,

D2:QPM       5    “Guy,    I’m just going to get to you when I have settlements.

02:03pr1     6    These guys I have to pay because they have no other jobs.”

02:C3PM     7                     You know,      “Tiger” was still a practicing attorney to

02:C 3PM    8     the best of my knowledge at the time so he had income coming

O2:DPM       9    in.     These guys had no other jobs.                  “They’re my priority;   l’1l

G2: 3?:.   10     catch you up as we go.”

u2:oM      Ii                     If I fell behind,            he was cool,   but he would be

02:0001    12     saying,       “Hey,    you owe me this much.            You owe me this much.”

02:(114    13     Q.      You said you started paying him in the first couple of

02:001     14     months.        In point of time,            when to your recollection was that?

02:C3PM    15     A.      It would have been some time after we agreed to it in the

02:O3PM    16     beginning of June of 2012.                   I couldn’t tell you when I paid him

02:03111   17     his first payment or second paymeriL.

02:03111   18     Q.      As you described,            sometimes they would be monthly payments

02:C3PM    19     and somet Lmes they would not                 he and you would have to catch         it


02:030M    20     and he would remind you in some of the c-mails we’ll go over

02:03114   21     that    P03’1FE2ris   were    due?

02:O3PM    22     A.      Oh,    yes,    sir.    Yeah,    I    Iink at    one point I nau only paid

02019M     23     h:m $36,000 through,            I think,      March when he should have already

02:042M    24     beer: paid $100,000.            And he’s like,         “You owe me $64,000.”     I

02:04114   25     was doing the best I could to run a business on a shoestring


                                                CONFIDENTIAL
                                                                                   SM-03-G L00474
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 17 of 24

                                                                                                                                52




02:O5PM     1    process ever administered in the United States.                                               And so based

02:O5PM     2    upon the complexity of the claims,                                  the number of claims,                the

O2:O5M      3    nun’JDer    of people affected,                    it    started off really slow.                    This      is

02:O5PM     4    a gargantuan task.                 I    think       it’s sped up and it’s gotten

02:Q5PM     5    smoother as you’ve gone along.

02:05PM     6    Q.      At the time Mr.                Sutton went to work for the

02:06PM     7    administration,            did you have a conversation with him about the

02:O6PM     8    Crown payments and the business relationship that he had with

02:OEPM     9    you    at   that time with              respect          to       Crown?


02:O6PM    10    A.      If you don’t mind my                   using          a    bad   word,     I    was    pissed.     I

02:O6FM    11    mean,       I said to him,             “Why are you taking the job?                             I got all my

02:O6PM    12    cases with BP.              You’re       a salaried employee.                          Did you clear this

O2:O6p4    13    with    Mr.    Juneau?           Does    he    know?”              Because       we’re    here.     We’re


O2:O6L4 14       here now.          Because it           just       didn’t look kosher,                   you know?

O2:O6P”    15    Q.      When       in    point    of    time       did you have this conversation with

02:O6PM    16    him?

02:C)EPM   17    A.      The    first       day he told             me    that he took the                ——    he took the

02:O6PM    18    job with,       I guess the claims administration office.

02:O6PM    19    Q.      You raised this concern with him?

02:O6PM    20    A.      The second I heard it.

02:O6PM    21    Q.      Did you also             raise       the    concern          with Mr. Andry?

02:O6PM    22    A.      I think I was upset,                   and I may have voiced my opinion that

02:O6PM    23    I felt “Tiger”            was     somewhat          of   a    moron        for    taking the job.

02:O6PM    24    Q.      To    Jon       Andry?

02:O7PM    25    A.      I    may    have    said       it,    and if I didn’t,                   I certainly thought


                                                   CONFIDENTIAL
                                                                                                         SM-03-GL00476
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 18 of 24

                                                                                                    57




02 : 1.     1    any retainer fee to Mr.             Sutton in regard to the Casey Thonn

02: 12      2    matter?

02: 12P          A.      Retainer fee or referral fee?

02: 12PM    4    Q.      Either    one.       Any payment in regard to the Casey Thonn

02: 12P     5    case?


02: 12PM    6    A.      I can’t      —-   gosh,   I don’t recall a conversation to that

02:12PM     7    effect because we did pay him.               So I can’t imagine       —-




02:12PM     8    Q.      Go ahead.          I’m sorry.

02:12EM     9    A.      I can’t imagine that we would agree not to pay him and

02:12PM    10    then I paid him.

02:12PM    11    Q.      Had Jon Andry told you not to make that payment,                    would you

02:122M    12    have agreed with that?

02:l2rM    13    A.      No,   sir.        I believe that,   you know,   if I gave my word on

02:13eY    14    something,      and “Tiger” gave me his word that it was okay for

02:13PM    15    him to receive it,           I had no reason not to believe “Tiger.”

02:13FM    16    had no reason not to believe that they had done a substantial

02:13PM    17    amount of work on it,             so I was comfortable with it.            And so if

02:13PM    18    I gave him my word that I would pay him a fee,                 I would pay him

02:13PM    19    a fee if it came from my own money.

02:13PM    20    Q.      Did you advise at any point Mr.           Jon Andry that you were

02:13PM    21    making the fee payments to Mr.              Sutton in regard to the

02:13FM    22    Casey Thonn case?

02:132M    23    A.      I’m sure he knew that I was paying,             yes,   sir.

02:13PM    24    Q.      How are you sure that he knew?

02:13PM    25    A.      Either I told him I was going to pay it,               irregardless


                                               CONFIDENTIAL
                                                                                SM-03-GL00481
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 19 of 24

                                                                                                                         58




02:i3?X     1    or   -—    or I just did.                   I don’t really recall.

D2:3P       2    Q.        Is it your understanding or belief as you sit here today

02:13PM     3    that you made those payments over his specific objection?

02:13PFI    4    A.        I guess.          It’s quite possible.                    I can’t say for sure.           I

02:3PM      5    don’t really know.                     I can’t recall what Jon and I spoke about.

O2:14P1     6    I just think he was                    ——    he wasn’t comfortable.

O2:4P       7    Q.        Well,      did he object to you making the payments?

O2:4M       8    A.        He objected to him being involved in the payment being

02:14PM     9    made.          I don’t      ——    I can’t speak for what he wanted me to do.

O2:4       10    But he was Portius Pilot                       (indicating):             I’m washing my hands of

O2:4PM     11    this.       You do what you want.                      I’ll cake my end of the fee,                but

O2:I4P     12    I’m not going to                 pay    him;    I’m going to keep my word.

02:14PM    13    Q.        So    he   never       requested       you       or told you or directed you in

02:14PM    14    any way not           to make          the    payments       yourself        to Mr.   Sutton?

02:14PM    15    A.        I can’t say that he did or he didn’t.                                I can’t really

02:14PM    16    recall.         I know he didn’t want to be involved in it.                                He was

02:14PM    17    washing his hands of it,                       but I       can’t    say exactly what       he   said,

02:14PM    18    50   I    don’t      want    to put          words    in    his    mouth     and   I don’t want you

02:14PM    19    putting words in my mouth either,                             with all       due   respect.

02:14PM    20    Q.        We’re not trying to do that.                            Had   he   objected   specifically

02:14PM    21    to you making the payments,                          is it your belief that you would

C2:14PM    22    have not made the payments?

02:14PM    23    A.        No,    I would have,               as long as I didn’t think I was doing

02:14PM    24    anything        wrong,       I was going to make the payments.                          I said I

02:15FM    25    would make the payment.                        I had no reason to believe there was


                                                    CONFIDENTIAL
                                                                                                    SM-03-GL00482
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 20 of 24

                                                                                                                       59




D2:i5Pi     1     any issue with it.                   “Tiger” had told me he had disclosed it to

O2:15M      2     Mr.    Juneau.        To my knowledge there was no conflict,                             you know.

02:15PM     3     Obviously we’re here now,                     but at the same time,              if I gave my

O2:5?L.     4     word on it,          that’s it.

02:15?M     5     Q.      Do you want to take a short break?

02:I5PM     6                     (WHEREUPON,            at   this point in the proceedings,                   a brief

02:23PM     7     recess was taken.)

O2:23LM     8                                                 EXAMINATION

02:23PM     9   BY MR.    FREEH:

C2:23PM    10     Q.      We’re back on the record.                      We took a short break.

O2:23P1    11                     Mr. Lerner,            let me go back again,              just to clarify a

02:24PM    12     few things,         with respect to your conversations,                          any

O2:24P     13     conversations by you and Jon Andry regarding the issue of any

02:24k’M   14     payments       to   Mr.     Sutton      regarding       the Casey Thorin case.               Do you

02:24PM    15     understand?

02:24PM    16     A.      Sir,    yes,       sir.


02:24PM    17     Q.      Thank       you.        As   best   you   recall,     you   told us about a

02:24PM    18     conversation          and there were concerns expressed by Mr. Andry

02:24PM    19     about the propriety of paying that fee once Mr.                                  Sutton went to

02:24PM    20     work    for    the administrator.                 Do   you   recall      that    conversation?


02:24PM    21     A.      Sir,    yes,       sir.


02:24PM 22        Q.      Do you recall any other conversations with him on that

02:24PM    23     subject       matter       at   any    time   including      up   to     today?


02:24PM    24     A.      I don’t recall               any,   but they     very     well    may    have     occurred


02:24FM 25        and I think he certainly had his                        opinion     on    it    as   I   stated.



                                                       CONFIDENTIAL
                                                                                                 SM-03-GL00483
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 21 of 24

                                                                                                60




02:25PY     I    Q.    Was this an issue that you recall recurring in

O2:25X      2    conversations on a regular basis or on intervals with

O2:25Fi     3    Mr. Andry?

02:25PM     4    A.    I cant recall,        no,   sir.     I just   ——   I’m sure the only time

O2:25M      5    that I really recall it would have been at the time of the

02:25PM     6    initial payment when that         ——     the issue first came up.

02:25EX     7    Q.    With respect to the payments to Mr.                Sutton,   so I

O2:25P4     8    understand how they were made and what they represented,                  is it

O2:25       9    your understanding that on the Casey Thonn case,                   the

O2:25      10    administrator would make a payment to the Andry Lerner aw Firm

32:25PX    11    of some amount?

02:25PM    12    A.    Sir,   yes,   sir.

O2:23      13    Q.    What would happen to that payment once it reached the

O2:25      14    Andry Lerner firm as far as you understand?

02:26PN1   15    A.    I suppose it was disbursed according o whatever

02:26PM    16    percentage was owed the client,            whatever percentage was owed

O2:26P4    17    the firm.

O2:26      18    Q.    The Casey Thonn case was a case that you originated,

02:26PM    19    correct?

O2:26P1    20    A.    Sir,   yes,   sir.

02:26PM    21    Q.   What was your understanding as to the fees you would be

02:26PM    22    entitled for a case that you originated at Andry Lerner?

02:26PM    23    A.    It would have been 50 percent.

02:26PM    24    Q.   50 percent of the fee?

02:26PM    25    A.    If there were no other referrals attached to it.


                                            CONFIDENTIAL
                                                                              S M-03-G L00484
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 22 of 24


                                                                                                    61




02:26PX      1    Q.     Where would the other 50 percent go?

02:26PM      2    A.     To Jon Andry.

O2:26L       3    Q.     So on the Casey Thonn case,           is it your understanding that

O2:2PM       4    50 percent of the fee went to Andry Lerner and 50 percent went

022i.PM      5    to you?

02:26PM      6    A.     No,    sir.     My understanding now is that     ——    no,   sir.

02•.2EPM     7    Q.     What’s your understanding?

Q2:26Pi      8    A.     As I look at the checks arid everything,          I think,      to the

O2:2OI       9    best of my knowledge,          50 percent,    because I guess that’s what I

2O2 -ux    10     subsequently have come to know that was Mr.             Sutton’s agreement,

O2:2O       ii    he got         the 50 percent was paid to me and. then paid to

O:2IPM      12    Mr.   Sutton.

O22iN       13    Q.     You didn’t receive any portion of that?

O2:27       14    A.     No,    sir.     The money caine to ray firm and it went right out

O2:27       15    to Mr.    Sutton.

02:.27?M    16    Q.     Now,    when you say that was his agreement,           you’re referring

02:27PM     17    to Mr.    Sutton?

02:27PM     18    A.     I believe so,        with my office.

02:270     1 9    Q.     Who in your office did he make that acireemect. with?

0?:270M    2C     A.     I don’t know.         I just renr roe c’use over there.         I   rold

02:27PM    21     him to contact         the office.   That was it.

02:27e1    22     Q.     Did he iiake the agreement with you in terms of the

02:272N    23     percentage?

2:27PM     24     A.     Oh,    no,    sir.

02:0M      25     Q.     Did he make it with Jon Andry?


                                              CONFIDENTIAL
                                                                               SM-03-GL00485
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 23 of 24

                                                                                                     69




02:32        1    A.    Sir,      yes,    sir.

02:36PM      2    Q.    Did you speak to him after he went to work there?

02:30M       3    A.    Of course.          We were partners in Crown.

02:3PN       4    Q.    Did you ever talk to him about the claims that were before

02;30rM      5    the claims administrator office?

02:3P1       6    A.    I think there was some conversations but nothing                --    no

C2:          7    specific names of cases or anything.                  I wouldn’t know the

02:          8    cases.

02:32r’      9    Q.    Tel.I    us about some conversations that you recall.

02:3M      10     A.    Oh,     gosh,     I can’t recall,      hut I think most of it was,         Why

02:7-M      11    is this taking so long?

02:3PM      12    Q.    Do you recall ever speaking to him about a specific claim?

02:nPi     3      A.    I wouldn’t have known the name of any claims.                 I think he

02:7PM     14     sent me an e-mail once with the name of one of our claims,

0:37       15     which was probably the first t:me I would have ever known the

02: 37:M   16     name of the claim,             I think.

02:rJPM    17     Q.    Having looked at the c-mails,                what claim are you thinking

02:7Pl     18     of or referring to?

02:OPM     19     A.    It was called Talen or Talen’s.

02:.       20     Q.    Do you recaJ 1 speak:ng to aim asout thai. claim?

o2:3v      21     A.    Oh,     r.o.     I’ve never    ——   I’ve never mentioned anything about

02:3vM     22     a specific caim,          I don’t beLieve.

02:30M     23     Q.   How many times did you have              ——   how many different times

02:37PM    24     did you have any conversation with Mr.                Sutton after he went to

02:370M    25     work for the claims administrator about his work there or


                                                 CONFIDENTIAL
                                                                               SM-03-GL00493
           Case 2:10-md-02179-CJB-DPC Document 11988-7 Filed 12/16/13 Page 24 of 24

                                                                                                            70




02:37P       1    matters or cases before the administrator,                    as best you recall?

o2:37Pt      2    A.      Cosh.        I don’t even know if there were really many

             3    telephone calls where it               wasn’t just    ——   it may have come up in

O2:3/M       4    two seconds of passing when we’re talking about Crown or the

02:37PM      5    kids.        You know,      our kids are really close,            aside from that.        I

(,2:S8?M     6    never really spoke to him about any cases that wasn’t                         ——




32:3PN       7    didn’t know anything about the whole process,                       really.    I

02:38PM      8    just    -—    my only concern was is it going to keep moving.                      That

02:3EPM      9    was it.

O2:3P<      10    Q.      What,    if anything,       did he say to you        in    response to any of

02;22       II    those conversations?

J:38PM      12    A.      Welt,    one Lime,      I   think he either sent me one or two

osi 13            e—mails,       which I’m sure you probably have,             they were

o::ov       14    unsolicited e—mails when 1 just               ——   I think one e—mail I said,

o2:3PM     15     “This BP thing,          this is insane,” or whatever,             and he spelled

02:38PM     16    out the status of our cases.

02: OPM    17     Q.      So when you say unsolicited,               you mean that you didn’t

02:38PM     18    request the information?

02:0   :   19     A.      Oh,    no,   sir.     But at the same time,         I don’t believe the

C) .3pM    20     ir.format ion that he divulged was anything that gave us a

02:38PM    21     competitive advantage or something that he wouldn’t give to

02:389M    22     other firms.

02:30C:    23     Q.      But he did,         in fact,   give you information about the

02:3E?M    2      claims?

02:38PM    25     A.      Status of our claims.            No specific claims,          just,   You have


                                                CONFIDENTIAL
                                                                                     SM-03-GL00494
